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                                UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,                  Case No. 2:21-CR-00127-MCS-1
11                 Plaintiff,
12                                               ORDER ON EX PARTE APPLICATION
            v.                                   PERMITTING IN CAMERA AND
13    DOUGLAS J. CHRISMAS,                       UNDER SEAL SUBMISSION OF
14                                               DECLARATION OF COUNSEL (ECF
                   Defendant.                    No. 258)
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           Good cause having been shown, Mr. Chrismas’ ex parte application is granted, and
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     the Declaration of Counsel shall be fileed in camee   and under seal.
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     Dated: February 26, 2025
22                                           Honorable Mark C C. Scarsi
23                                           United States District Judge

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